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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
__________________________________________
COMMONWEALTH OF MASSACHUSETTS,              :
                                            :
            Plaintiff,                      :    Case No. 1:17-cv-11930-NMG
                                            :
      v.                                    :
                                            :
UNITED STATES DEPARTMENT OF                 :
HEALTH AND HUMAN SERVICES et al.,           :
                                            :
            Defendants.                     :
__________________________________________:

       MEMORANDUM IN SUPPORT OF DEFENDANTS’ CROSS-MOTION
       TO DISMISS OR FOR SUMMARY JUDGMENT AND IN OPPOSITION
            TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
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                                         INTRODUCTION

       This case is about religious liberty and freedom of conscience. In 2010, as part of the

Affordable Care Act (ACA), Congress enacted a law requiring employers to cover some

recommended preventive services without cost-sharing. The law does not mention contraceptive

coverage. But the Health Resources and Services Administration (HRSA), an agency within the

Department of Health and Human Services (HHS), issued guidelines that required coverage for

women of all Food and Drug Administration (FDA)-approved contraceptives without cost-sharing.

At the same time, the government recognized that some employers hold sincere religious

objections to providing insurance coverage for contraception, especially certain contraceptives that

some employers consider to be abortifacients, but decided to exempt only a fraction of those

employers – churches and their integrated auxiliaries – from the requirement. Other religious

employers remained subject to the contraceptive mandate (“Mandate”) and were left either to

violate their sincerely-held religious beliefs or to be subjected to significant fines.

       Years of litigation in dozens of cases followed. In Burwell v. Hobby Lobby Stores, Inc.,

the Supreme Court held that the “contraceptive mandate imposes a substantial burden on the

exercise of religion” that was unlawful under the Religious Freedom Restoration Act (RFRA).

134 S. Ct. 2751, 2779 (2014). Rather than extending the church exemption, however, the

Departments of HHS, Labor, and the Treasury (“the Agencies”) tried “accommodating” religious

objectors who did not qualify for that exemption. That decision triggered a new round of litigation

that generated decisions in nine federal courts of appeals. Ultimately, the Supreme Court vacated

those decisions and instructed the courts of appeals to give the parties time to try to resolve their

differences. Zubik v. Burwell, 136 S. Ct. 1557, 1560 (2016).

       On October 6, 2017, in an effort to address serious religious and moral objections and



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finally bring the litigation to a close, the Agencies issued interim final rules that keep the Mandate

in place, but exempt religious and moral objectors from having to include contraceptive coverage

to which they object – which could be some or all contraceptives – in insurance plans offered to

their employees. See Religious Exemptions and Accommodations for Coverage of Certain

Preventive Services Under the ACA, 82 Fed. Reg. 47,792 (Oct. 13, 2017) (the “Religious

Exemption Rule”); Moral Exemptions and Accommodations for Coverage of Certain Preventive

Services Under the ACA, 82 Fed. Reg. 47,838 (Oct. 13, 2017) (the “Moral Exemption Rule”)

(collectively, “the Rules”).

       Plaintiff, the Commonwealth of Massachusetts, seeks to reverse this considered decision,

demanding that religious and secular groups facilitate services to which they deeply object.

Plaintiff alleges that the Rules violate the Administrative Procedure Act, the Affordable Care Act,

the Establishment Clause, and the Equal Protection Clause. It contends that the Rules interfere

with “women[’s] equal access to preventive medical care” that is “guarantee[d]” by the ACA.

Mem. Supp. Pl. Mot. for Summ. J. at 1, ECF No. 22 (“Pl. MSJ”). Those positions, if adopted,

would apply equally to sweep away the longstanding exemption for churches and their integrated

auxiliaries, exposing churches to the Mandate for the first time.

       But this Court should not reach the merits at all, because Plaintiff lacks standing. Plaintiff

seeks to enjoin Rules that do not apply to it and that do not affect any identified State residents,

and it is black-letter law that a State cannot assert the rights of its citizens against the federal

government. See Alfred L. Snapp & Son v. Puerto Rico, 458 U.S. 592, 610 n.16 (1982).

       In any event, none of Plaintiff’s claims has merit. The federal government acted lawfully

in making a policy choice in accordance with laws protecting religious liberty and moral

conscience in the healthcare context. This case is about protecting a narrow class of sincere



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religious and moral objectors from being forced to facilitate practices that conflict with their

beliefs. Both the ACA and RFRA provide firm statutory authority for the Rules. The Rules did

not require yet another round of notice and comment prior to implementation, and are not arbitrary,

as they alleviate a substantial burden on religion and help resolve years of litigation and dozens of

cases. And it is settled law that the government may accommodate religion without running afoul

of the Establishment Clause; the Rules do not advance religion, but instead relieve a burden on

religious and secular objectors. Finally, the Rules do not discriminate on the basis of sex, but

instead draw distinctions based on the presence or absence of a sincere religious or moral objection.

The Court should therefore dismiss this action, or enter summary judgment for Defendants.

                                        BACKGROUND

       In March 2010, Congress enacted the ACA. See Patient Protection and Affordable Care

Act (PPACA), Pub. L. No. 111-148, 124 Stat. 119 (2010), as amended by Pub. L. No. 111-152,

124 Stat. 1029 (2010). Section 1001 of the PPACA added Section 2713 to the Public Health

Service Act (PHSA). See 42 U.S.C. § 300gg-13. That provision requires group health plans and

health insurance issuers that offer group or individual health coverage to provide coverage for

certain preventive services without cost-sharing. Id. These include, “with respect to women, such

additional preventive care and screenings not described in [Section 300gg-13(a)(1)] as provided

for in comprehensive guidelines supported by [HRSA].” Id. § 300gg-13(a)(4). Congress did not

require HRSA to include contraceptive services, and the ACA does not mention such services.

       Congress exempted tens of millions of employees from the preventive coverage provision,

many because their employers sponsor “grandfathered plans,” which are plans “in which an

individual was enrolled on March 23, 2010” that comply with certain regulations. See 26 C.F.R.

§ 54.9815-1251(a); 29 C.F.R. § 2590.715-1251(a); 45 C.F.R. § 147.140(a). Congress required



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grandfathered plans to cover certain services deemed “particularly significant,” including coverage

of pre-existing conditions and allowing dependents to remain on plans until age 26, but did not

require those plans to cover preventive services. 75 Fed. Reg. 34,358, 34,540 (June 17, 2010).

       On August 1, 2011, HRSA adopted guidelines defining as covered preventive services for

women the full range of FDA-approved contraceptive methods, sterilization procedures, and

patient education and counseling for women with reproductive capacity. See HRSA, Women’s

Preventive Services: Required Health Plan Coverage Guidelines (“Guidelines”), Administrative

Record (AR) CD1 at 56-57. 1 Simultaneously, the Agencies issued a set of Interim Final Rules

(IFRs) providing an exemption for certain religious employers. See Group Health Plans and Health

Insurance Issuers Relating to Coverage of Preventive Services Under the PPACA, 76 Fed. Reg.

46,621, 46,625 (Aug. 3, 2011). The IFRs limited the exemption to “churches, their integrated

auxiliaries, and conventions or associations of churches,” as well as “the exclusively religious

activities of any religious order,” that are exempt from taxation under 26 U.S.C. § 501(a), where

“(1) [t]he inculcation of religious values is the purpose of the organization; (2) [t]he organization

primarily employs persons who share the religious tenets of the organization; [and] (3) [t]he

organization serves primarily persons who share the religious tenets of the organization. Id. at

46,626. The Agencies requested comments on the IFRs and specifically on the definition of a

“religious employer.” 76 Fed. Reg. at 46,623, AR CD9, Doc. 9.

       After considering thousands of comments, AR CD1 at 1510-2249, CD2 at 2250-181059,

the Agencies issued final regulations that adopted the interim rules’ definition of a religious

employer. 77 Fed. Reg. 8,725, 8,726-27 (Feb. 15, 2012). The Agencies also created a temporary



1
 Citations herein to the administrative record include citations to the specific CD-ROM (CD1-
CD9) that contains the cited material.


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enforcement safe harbor for plans sponsored by certain non-profit organizations with religious

objections to contraceptive coverage that did not qualify as exempt religious employers (and for

any associated group health insurance coverage). 2

       This safe harbor did not extend to for-profit companies with religious objections to

providing coverage for contraceptive services, or to companies of any kind with moral objections

to providing such coverage. Dozens of organizations and individuals filed lawsuits challenging

the Mandate. Courts around the country began to issue injunctions against the Mandate. See

Archdiocese of St. Louis v. Burwell, 28 F. Supp. 3d 944, 954 (E.D. Mo. 2014) (citing cases).

       As part of their continuing attempt to resolve religious objections, the Agencies issued an

advance notice of proposed rulemaking (ANPRM) in March 2012, and a notice of proposed

rulemaking (NPRM) in February 2013. 77 Fed. Reg. 16,501 (Mar. 21, 2012); 78 Fed. Reg. 8,456

(Feb. 6, 2013). The Agencies’ goal was to address alternatives for providing women access to

contraceptive services without cost-sharing and for accommodating religious organizations’

liberty interests, id. at 16,501-03, and to give “an early opportunity for any interested stakeholder

to provide advice and input into the policy development relating to the accommodation to be made”

in amendments to the regulations. Id. at 16,503.

       After receiving over 400,000 comments, AR CD6 at 25414-289805, 289806-373095, the

Agencies published final rules, 78 Fed. Reg. 39,870 (July 2, 2013), which simplified and expanded

the religious-employer exemption by defining a “religious employer” to be “an organization that




2
  On February 10, 2012, HHS issued guidance describing the safe harbor, and stating that the
Agencies would wait one year before enforcing the mandate against certain non-exempt religious
organizations. See HHS, Guidance on the Temporary Enforcement Safe Harbor (Feb. 10, 2012),
AR CD1 at 58-63. This guidance was later reissued without changing the substance of the policy,
in order to extend the safe harbor for an additional year. See HHS, Guidance on the Temporary
Enforcement Safe Harbor, at 1 n.1 & 3 (June 28, 2013), AR CD4 at 263, 265.
                                                 5
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is organized and operates as a nonprofit entity and is referred to in section 6033(a)(3)(A)(i) or

(a)(3)(A)(iii) of the Internal Revenue Code of 1986, as amended.” Id. at 39,889. That Code

provision refers only to churches, their integrated auxiliaries, conventions or associations of

churches, and the exclusively religious activities of any religious order. Id.

        But the 2013 final rules did not extend the religious-employer exemption to all objecting

organizations. Instead, they established an “accommodation” for group health plans established

or maintained by “eligible organizations.” Id. at 39,874-80, 39,896. Under this process, an eligible

organization was not required “to contract, arrange, pay, or refer for contraceptive coverage” to

which it had religious objections, id. at 39,874, if it completed a self-certification stating that it

was an eligible organization and provided a copy of that form to its issuer or third-party

administrator (TPA). Id. at 39,878-79. The organization’s health insurance issuer or TPA would

then be required to provide or arrange separate payments to participants and beneficiaries for

contraceptive services without cost sharing, premium, fee, or other charge to participants or

beneficiaries, or to the eligible organization or its plan. 3 See id. at 39,875-80.

        The 2013 final rules did not resolve the litigation challenging the Mandate. In 2014,

the Supreme Court held that – at least as applied to closely-held for-profit corporations with

religious objections to providing contraceptive coverage – the Mandate violated RFRA. Hobby

Lobby, 134 S. Ct. at 2775. The Court explained that the “contraceptive mandate substantially

burden[ed] the exercise of religion” by those employers because it put them to the choice of

violating their sincerely-held religious beliefs or facing significant fines. Id. at 2757. The Court

also held that applying the Mandate to the plaintiffs failed the least restrictive means test, because




3
  For self-insured plans, any costs incurred by a TPA could be reimbursed through an adjustment
to Federally-facilitated Exchange (FFE) user fees. See 78 Fed. Reg. at 39,880.
                                                   6
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the accommodation was a less restrictive alternative to applying the Mandate directly. See id. at

2779-80. The Court cautioned that it was not deciding “whether an approach of this type complies

with RFRA for purposes of all religious claims.” Id. at 2782.

       Less than a week later, the Court granted interim relief in a case involving Wheaton

College, a non-profit employer that sincerely believed that the accommodation process rendered

it complicit in providing contraceptive coverage. See Wheaton Coll. v. Burwell, 134 S. Ct. 2806,

2808 (2014). The Court identified an alternative form of accommodation for Wheaton College

whereby the employer could notify the government – instead of its insurer or third-party

administrator – of the employer’s religious objections. Id. at 2807.

       In light of that order, the Agencies issued another set of IFRs to augment the regulatory

accommodation process. Coverage of Certain Preventive Services Under the ACA, 79 Fed. Reg.

51,092 (Aug. 27, 2014). They also issued a second NPRM to extend the accommodation process

to closely-held for-profit entities with religious objections to contraceptive coverage in light of the

Hobby Lobby decision. See 79 Fed. Reg. at 51,118. After receiving over 75,000 comments, the

Agencies finalized both the August 2014 IFRs and the August 2014 proposed rules. See 80 Fed.

Reg. 41,318, 41,324 (July 14, 2015).

       Meanwhile, litigation about whether the accommodation process satisfied the

government’s RFRA obligations toward non-profit religious entities had generated a split among

the federal appeals courts, and the Supreme Court granted certiorari in Zubik v. Burwell to resolve

the split. But on May 16, 2016, the Court issued a per curiam opinion vacating the judgments of

the courts of appeals and remanding the cases “[i]n light of the . . . substantial clarification and

refinement in the positions of the parties” in supplemental briefs they had submitted. Zubik, 136

S. Ct. at 1560. The Court stated that it anticipated, on remand, that the courts of appeals would



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“allow the parties sufficient time to resolve any outstanding issues between them.” Id.

       The Agencies then issued a Request for Information (“RFI”) seeking public comment on

options for modifying the accommodation process in light of the supplemental briefing and remand

order in Zubik. Request for Information, 81 Fed. Reg. 47,741 (July 22, 2016). In response to the

RFI, the Agencies received over 54,000 public comments. AR CD8 at 218051-272990. On

January 9, 2017, the Agencies issued a “FAQ” noting that, after a review of the comments and

considering various options, the Agencies could not find a way to amend the accommodation to

satisfy objecting organizations while also pursuing the Agencies’ policy goals. FAQs About ACA

Implementation Part 36 (“FAQs”) (Jan. 9, 2017), AR CD9 at 370093-370103, 370104-370114.

Thus, the litigation on remand, involving dozens of cases and plaintiffs, remained unresolved.

       On May 4, 2017, the President issued an “Executive Order Promoting Free Speech and

Religious Liberty.” Exec. Order No. 13,798, 82 Fed. Reg. 21,675 (May 4, 2017). It instructed the

Agencies to “consider issuing amended regulations, consistent with applicable law, to address

conscience-based objections to the preventive-care mandate promulgated under section 300gg-

13(a)(4).”   Id.   Consistent with the Executive Order, the Agencies concluded that it was

“appropriate to reexamine the exemption and accommodation scheme currently in place for the

Mandate,” and issued the Rules at issue here on October 6, 2017. Religious Exemption Rule,

82 Fed. Reg. 47,799; accord Moral Exemption Rule, 82 Fed. Reg. 47,838. The Agencies requested

public comments on the Rules by December 5, 2017.

       The Religious Exemption Rule expands the exemption for non-governmental plan sponsors

that object to providing coverage for all or some contraceptive services based on sincerely-held

religious beliefs, as well as for institutions of higher education in their arrangement of student

health plans, to the extent of these entities’ sincerely-held religious beliefs.          45 C.F.R.



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§ 147.132(a)(2). The Moral Exemption Rule provides an exemption for certain non-governmental

plan sponsors that object to providing all or some contraceptive services based on sincerely-held

moral convictions, as well as for institutions of higher education in their arrangement of student

health plans, to the extent of these entities’ sincerely-held moral convictions. Id. § 147.133(a)(2). 4

        Under the Rules, HRSA remains free to define “contraceptive services” as “contraceptive

or sterilization items, procedures, or services, or related patient education or counseling, to the

extent specified for purposes of § 147.130(a)(1)(iv)” for all non-exempt employers. See 82 Fed.

Reg. at 47,835; 45 C.F.R. §§ 147.132(c), 147.133(c). “Contraceptive services” do not include

contraceptive services for men, and never have, because the ACA only authorizes HRSA to

develop guidelines for “additional preventive care and screenings” to be covered “with respect to

women.” 42 U.S.C. § 300gg-13(a)(4); 78 Fed. Reg. 8,456, 8,458 n.3 (Feb. 6, 2013) (excluding

“services relating to a man’s reproductive capacity, such as vasectomies and condoms” from the

definition of “preventive services” that must be provided without cost sharing). As under the

previous rule, exempt entities are not required to self-certify, but they are still subject to regulatory

disclosure requirements for plan exclusions or reductions in a covered benefit. 82 Fed. Reg. at

47,808 & n.54; id. at 47,804 & n.32. The Rules also maintain the accommodation process as a

voluntary mechanism to provide contraceptive availability for women covered by the plans of

exempt entities that choose to use it. 45 C.F.R. § 147.131; 26 C.F.R. § 54.9815-2713A; 29 C.F.R.

§ 2590.715-2713A. On October 6, 2017, HRSA updated its Guidelines to exempt entities and

individuals that qualify for exemptions from the Guidelines’ requirements. See Guidelines.



4
  Each rule also includes an “individual exemption” that allows a willing plan sponsor of a group
health plan or a willing health insurance issuer offering group or individual health insurance
coverage to provide a separate benefit package option or policy, certificate, or contract of insurance
to an individual who objects to coverage for contraceptive services based on sincerely-held
religious beliefs or moral convictions. 45 C.F.R. §§ 147.132(b), 147.133(b).
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                                           ARGUMENT

I.     Plaintiff Lacks Standing.

       As an initial matter, this Court lacks jurisdiction to adjudicate Plaintiff’s claims. See Steel

Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94 (1998). To establish standing, a plaintiff must

show that it has “suffered an injury in fact – an invasion of a legally protected interest which is (a)

concrete and particularized, and … (b) actual or imminent, not conjectural or hypothetical.” Lujan

v. Defenders of Wildlife, 504 U.S. 555, 560 (1992) (citations omitted). Allegations of possible

future injury do not suffice; “[a] threatened injury must be certainly impending to constitute injury

in fact.” Whitmore v. Arkansas, 495 U.S. 149, 158 (1990). Likewise, a plaintiff that “alleges only

an injury at some indefinite future time” has not shown an injury in fact; “the injury [must] proceed

with a high degree of immediacy, so as to reduce the possibility of deciding a case in which no

injury would have occurred at all.” Lujan, 504 U.S. at 564 n.2. The standing inquiry is “especially

rigorous” where, as here, a plaintiff asks a federal court “to decide whether an action taken by one

of the . . . branches of the Federal Government was unconstitutional.” Raines v. Byrd, 521 U.S.

811, 819-20 (1997). 5

       The challenged Rules apply to non-governmental employers, not to States. They do not

command Massachusetts to take, or refrain from taking, any action. Accordingly, this case is

unlike the most common situation in which States have standing to challenge federal law. See,

e.g., New York v. United States, 505 U.S. 144 (1992); Oregon v. Mitchell, 400 U.S. 112 (1970).



5
  As to Count IV, a State is not a “person” protected by the Due Process Clause of the Fifth
Amendment. See South Carolina v. Katzenbach, 383 U.S. 301, 323-34 (1966); United States v.
Thoms, 684 F.3d 893, 899 n.4 (9th Cir. 2012). As to Count III, Plaintiff cites no case recognizing
the standing of a State to bring an Establishment Clause challenge, and it is not clear how the
Commonwealth can suffer “spiritual or psychological harm” or have “religious beliefs” that can
be “stigmatized.” See Catholic League for Religious & Civil Rights v. City & Cty. of San
Francisco, 624 F.3d 1043, 1050-53 (9th Cir. 2010).

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Massachusetts therefore complains of injury “from the government’s allegedly unlawful regulation

(or lack of regulation) of someone else,” but that theory makes standing “substantially more

difficult to establish.” See Lujan, 504 U.S. at 562. As is evident from its filings, Massachusetts

seeks to challenge the Rules based on mere conjecture about indirect or incidental financial

consequences that allegedly will flow from them. It fails to show that the Rules will result in any

injury for the Commonwealth, much less a “certainly impending” injury. Id. at 564 n.2.

       Plaintiff’s primary theory of harm is that the Commonwealth “will be legally obligated to

assume the costs of contraceptive, prenatal, and postnatal care for many women who lose

coverage” as a result of the expanded exemptions, “inflict[ing] significant financial harm” on the

Commonwealth. Pl. MSJ at 13; Am. Compl. ¶¶ 73-79, ECF No. 17. But conclusory allegations

that a State’s budget or tax revenues will be harmed in some general way by a federal policy are

not sufficient to support standing. See, e.g., Pennsylvania v. Kleppe, 533 F.2d 668, 672-73 (D.C.

Cir. 1976); Wyoming v. U.S. Dep’t of the Interior, 674 F.3d 1220, 1234 (10th Cir. 2012); see also

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

       In its Amended Complaint, Plaintiff does not allege that any particular employer will

imminently avail itself of the exemption, rather than the accommodation. 6 Plaintiff also does not

allege that the employees of any Massachusetts employer that avails itself of the exemption would

seek access to contraceptive coverage that was unavailable through, for example, a family

member’s plan. Indeed, Plaintiff itself notes that many such employers may be required to cover

contraception under Plaintiff’s own Contraceptive Equity Act and ACCESS Act, even if an

objecting employer invokes the Rules’ exemptions to the federal Mandate. Cf. Pl. MSJ at 11-12.


6
 Employers seeking the exemption are subject to ERISA’s timely disclosure requirements for plan
exclusions or reductions in a covered service or benefit. See 82 Fed. Reg. at 47,808 & n.54; id. at
47,804 & n.32.

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In short, Plaintiff has failed to sufficiently allege that any state residents will imminently lose

coverage as a result of the expanded exemptions.

       Even if state residents do lose coverage as a result of the Rules, the Commonwealth’s

alleged harms rely on an attenuated chain of causation. It is pure speculation that “[s]ome

Massachusetts women who lose coverage” as a result of the expanded exemptions will seek (and

qualify for) contraceptive care and services through programs that are at least partially state-

funded, thus requiring increased state spending. See Am. Compl. ¶¶ 76-77; Pl. MSJ at 14. The

Commonwealth’s allegation that the expanded exemptions will result in “an increase in unintended

pregnancies and other negative health outcomes which will impose direct costs on the

Commonwealth” is even more attenuated. Am. Compl. ¶ 78; Pl. MSJ at 14-15. The costs of such

“unintended pregnancies” would likely be otherwise covered by the health plans of the affected

employees (who are, by hypothesis, employed).

       Even if the Commonwealth had adequately alleged that it would “be responsible for a

significant share of the[] costs” of “providing replacement contraceptive coverage and care,”

including prenatal care and delivery services, for a certain number of state residents, Pl. MSJ at

13-14, that allegation would be insufficient as a matter of law. A State suffers no legally

cognizable injury when an eligible person applies for a benefit that a State has elected to provide

(such as one available through a State’s public health department programs). See Pennsylvania v.

New Jersey, 426 U.S. 660, 664 (1976) (holding that “[n]o State can be heard to complain about

damage inflicted by its own hand”). And in any event, if such hypothetical impacts on state

finances were enough to establish Article III standing, a State could challenge virtually any federal

policy. 7 See Wyoming, 674 F.3d at 1234 (“concrete evidence” of an impact on state finances is


7
  Even if the Commonwealth had alleged concrete fiscal injuries traceable to the Rules, those
injuries would not suffice to support standing here. The Commonwealth’s generalized allegation
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needed because of “the unavoidable economic repercussions of virtually all federal policies); see

also State of Iowa ex rel. Miller v. Block, 771 F.2d 347, 353 (8th Cir. 1985) (“[T]hese injuries fail

to constitute distinct, palpable injuries to the State as a state”).

        Nor can the Commonwealth overcome its lack of standing in its own right by asserting a

“sovereign interest in protecting the health, safety, and well-being of its residents.” Am. Compl.

¶ 79; see also Pl. MSJ at 13. As parens patriae, a State can sue a private party to protect its “quasi-

sovereign interest” in the health and well-being of its citizens. Snapp, 458 U.S. at 602-03. But a

State cannot sue the federal government “to protect citizens of the United States from the

operation” of federal law. See Massachusetts v. Mellon, 262 U.S. 447, 485 (1923). “It is the

United States, and not the state, which represents [its citizens] as parens patriae” and “it is no part

of [a state’s] duty or power to enforce [its citizens’] rights in respect of their relations with the

federal government.” Id. at 485-86. This well-settled rule controls here.

        Massachusetts v. EPA, 549 U.S. 497, 522–23 (2007), illustrates how far removed the

Commonwealth’s allegations are from stating an injury in fact. In that case, the Supreme Court

allowed the Commonwealth to sue the federal government to vindicate a claim of a concrete, direct

injury to its quasi-sovereign interests: alleged harm to the physical integrity of “sovereign

territory,” implicating the Commonwealth’s “independent interest in all the earth and air within its

domain.” Id. at 519. Here, the Commonwealth alleges no such concrete, direct injury to its own

interests.   Allegations of harm to its residents do not suffice to establish harm to the

Commonwealth itself, and the Commonwealth can assert no “sovereign interest” in the health of

its residents against the federal government. Snapp, 458 U.S. at 602-03. “[T]here is a critical



of harm to its finances or loss of increased tax revenue is not a proprietary interest apart from the
interests of its citizens. See City of Rohnert Park v. Harris, 601 F.2d 1040, 1044-45 (9th Cir.
1979); People ex rel. Hartigan v. Cheney, 726 F. Supp. 219, 225 (C.D. Ill. 1989).

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difference between allowing a State ‘to protect her citizens from the operation of federal statutes’

(which is what Mellon prohibits) and allowing a State to assert its rights under federal law (which

it has standing to do).” Massachusetts, 549 U.S. at 520 n.17. Plaintiff has no standing to sue.

II.    Plaintiff’s Procedural Administrative Procedure Act Claim Is Meritless.

       Plaintiff asserts that the Rules should be enjoined because they were issued without notice

and comment. Pl. MSJ at 16-21. That claim is meritless.

       A.      The Agencies Issued the Rules Pursuant to Express Statutory Authority.

       The informal rulemaking provisions of the Administrative Procedure Act, 5 U.S.C. § 551

et seq. (APA) generally require that agencies provide notice of a proposed rule, invite and consider

public comments, and adopt a final rule that includes a statement of basis and purpose. See id.

§ 553(b), (c). But these provisions give way in the face of express statutory authorization to the

contrary, and the Rules were issued pursuant to such express statutory authorization. Specifically,

each agency was authorized by statute to “promulgate any interim final rules as the Secretary

determines are appropriate” relating to health coverage. See 26 U.S.C. § 9833; 29 U.S.C. § 1191c;

42 U.S.C. § 300gg-92 (emphasis added). These statutory provisions are unique; other statutes

granting general regulatory authority do not similarly authorize IFRs. The Agencies relied on this

statutory authority to issue IFRs in 2010, 2011, and 2014 regarding the Mandate. 75 Fed. Reg. at

41,729-30; 76 Fed. Reg. at 46,624; 79 Fed. Reg. at 51,095; cf. Real Alternatives v. Burwell, 150

F. Supp. 3d 419, 427 n.6 (M.D. Pa. 2015) (noting that APA notice-and-comment requirements did

not apply to the 2011 IFR that was issued under this specific statutory authority). The Agencies

thus have met the APA’s only procedural requirements that apply here: they requested comments

for a period of sixty days on the IFRs and will not issue final rules until they have received and

carefully considered those comments. See 82 Fed. Reg. 47,792; 82 Fed. Reg. 47,838.



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       Plaintiff’s contrary position writes this express grant of statutory authority out of the

statute. Under the Commonwealth’s view, the grant of authority is meaningless; it would merely

give the Secretaries the same authority they already possessed. See generally Nat’l Org. for

Marriage v. McKee, 649 F.3d 34, 66 (1st Cir. 2011) (a statute should “be so construed that, if it

can be prevented, no clause, sentence, or word shall be superfluous, void, or insignificant”)

(citation omitted). But when Congress sets forth its “clear intent that APA notice and comment

procedures need not be followed,” an agency may dispense with those requirements and issue an

IFR. Methodist Hosp. of Sacramento v. Shalala, 38 F.3d 1225, 1237 (D.C. Cir. 1994); Asiana

Airlines v. FAA, 134 F.3d 393, 397-98 (D.C. Cir. 1998). The relevant question is “whether

Congress has established procedures so clearly different from those required by the APA that it

must have intended to displace the norm.” Id. at 397. That is the case here. Express authority to

issue “any interim final rules as the Secretar[ies] determine[] are appropriate” is quite different

from the default standard of good cause under the APA.

       B.      The Agencies Had Good Cause to Issue Interim Final Rules.

       In any event, the Agencies’ decision to issue the Rules on an interim final basis would have

been justified under the APA itself. The APA authorizes an agency to dispense with notice-and-

comment rulemaking procedures “when the agency for good cause finds (and incorporates the

finding and a brief statement of reasons therefor[e] in the rules issued) that notice and public

procedure thereon are impracticable, unnecessary, or contrary to the public interest.” 5 U.S.C.

§ 553(b)(3)(B). That Congress “has specifically authorized the Secretaries to promulgate interim

final rules,” at a minimum, “provides support towards a finding of ‘good cause’ to proceed without

notice and comment.” Coalition for Parity, Inc. v. Sebelius, 709 F. Supp. 2d 10, 20 (D.D.C. 2010).




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       And even without that thumb on the scale, good cause existed to issue the Rules as interim

final rules with an accompanying request for comment. First, the Agencies found that any

additional delay in issuing the Rules would be contrary to the public interest. 8 82 Fed. Reg. at

47,814-15; 82 Fed. Reg. at 47,855-56. Prompt effectiveness provided entities and individuals

facing unlawful burdens on their sincerely-held religious beliefs and moral convictions with

important and urgent relief. Id. at 47,814; see also id. at 47,855. 9 The Rules also resolved the

uncertainty, inconsistency, and costs resulting from the dozens of lawsuits over the Mandate for

nearly five years. See Serv. Emps. Int’l Union, Local 102 v. Cty. of San Diego, 60 F.3d 1346, 1352

n.3 (9th Cir. 1994) (finding good cause where “the federal courts were issuing conflicting

decisions” and the agency had reviewed public comments six years before). Indeed, because more

than a year has elapsed since the Zubik remand, some courts had begun pressing for resolution.

See, e.g., Order, Notre Dame v. Price, No. 13-3853 (7th Cir), ECF No. 150 (Aug. 14, 2017). The

Religious Exemption Rule “provide[d] a specific policy resolution that courts ha[d] been waiting

to receive from the [Agencies] for more than a year” following Zubik. 82 Fed. Reg. at 47,814.

       Second, the Agencies demonstrated a willingness to consider public comment, both prior

to and following issuance of the Rules. See Priests for Life v. HHS, 772 F.3d 229, 276 (D.C. Cir.

2014), vacated and remanded by Zubik v. Burwell, 136 S. Ct. 1557 (2016); 10 Conservation Law


8
  The Agencies noted similar reasons for good cause to issue the 2011 and 2014 IFRs, underscoring
the long-recognized need for prompt guidance and clarity on the scope of these exemptions and
accommodations. 76 Fed. Reg. at 46,624; 79 Fed. Reg. at 51,095.
9
   The clarity provided in the Rules also serves the public interest by removing barriers to
participation in the insurance market and reducing the cost of health insurance. 82 Fed. Reg. at
47,815. And the Rules also remove any deterrent to objectors considering organizing entities that
would be subject to the Mandate, or from offering health insurance in the first place. Id. at 47,814.
10
   Plaintiff attempts to distinguish the D.C. Circuit’s decision in Priests for Life by arguing the
court’s decision there hinged on the “minor” nature of the modifications to the regulations, Pl.
MSJ at 20, but the Priests for Life court found several reasons supporting the Agencies’ decision
not to engage in notice-and-comment rulemaking, and it noted that the Agencies “reasonably
interpreted the Supreme Court’s order in Wheaton College as obligating [them] to take action to
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Found. v. Evans, 360 F.3d 21, 29-30 (1st Cir. 2004). As discussed above, the Agencies received

and considered “more than 100,000 public comments on multiple occasions” on the exemption

and accommodation issues. 82 Fed. Reg. at 47,814. After reviewing these thousands of comments,

the Agencies could not find a way to amend the accommodation to eliminate fully the substantial

burden on religious practice. There is no question that the exemption and accommodation have

been “tested via exposure to diverse public comment.” Pl. MSJ at 16.

       The Agencies have also solicited comments for 60 days following issuance of the Rules.

See 82 Fed. Reg. at 47,792 (requesting comments on or before December 5, 2017); 82 Fed. Reg.

at 47,838 (same).      Their solicitation of post-promulgation comments “suggests that the

[Departments have] been open-minded,” with the result that “real ‘public reconsideration of the

issued rule’ [is taking] place.” Petry v. Block, 737 F.2d 1193, 1203 (D.C. Cir. 1984) (citation

omitted) (in light of post-promulgation comment period, remand to the agency for further

proceedings was unnecessary); see also Republic Steel Corp. v. Costle, 621 F.2d 797, 804 (6th Cir.

1980) (upholding rule where agency provided only post-promulgation comment period); Universal

Health Servs. of McAllen, Inc. v. Sullivan, 770 F. Supp. 704, 721 (D.D.C. 1991).

       Finally, the Rules are effective only until final rules are issued. “The interim nature of a

challenged rule is a significant factor in evaluating an agency’s good cause claim.” Nat’l Women,

Infants, & Children Grocers Ass’n v. Food & Nutrition Serv., 416 F. Supp. 2d 92, 107 (D.D.C.

2006) (citation omitted); see also Mid-Tex Elec. Co-op., Inc. v. FERC, 822 F.2d 1123, 1132 (D.C.

Cir. 1987). These Rules are temporary. The Agencies have given interested parties two full



further alleviate any burden on the religious liberty of objecting religious organizations.” Priests
for Life, 772 F.3d at 276. While Plaintiff argues that the “Court’s order in Zubik had no such
urgency,” Pl. MSJ at 21, in the Rules, the Agencies reasonably interpreted the Zubik remand as
requiring “a specific policy resolution that courts ha[d] been waiting to receive from the [Agencies]
for more than a year.” 82 Fed. Reg. at 47,814.

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months to review and comment upon the Rules before the Agencies issue final rules.

       Even if a single justification “standing alone” would not constitute good cause, the Court

must consider whether the “combined effect” suffices. Nat’l Women Ass’n, 416 F. Supp. 2d at

107; Mid-Tex Elec. Coop., Inc., 822 F.2d at 1132-33. The factors discussed above – whether

considered individually or together – justified the Agencies’ finding of “good cause.” See Nat’l

Women Ass’n, 416 F. Supp. 2d at 104-05.

       C.      If the Lack of Formal Notice-and-Comment Was an Error, It Was
               Harmless.

       In any event, any error in forgoing notice and comment was harmless. The APA’s judicial

review provision instructs courts to take “due account . . . of the rule of prejudicial error.” 5 U.S.C.

§ 706. Courts routinely apply this instruction when they determine whether an agency has failed

to comply with the APA’s notice-and-comment requirement. See Conservation Law Found., 360

F.3d at 29. The burden falls on the party asserting error to demonstrate prejudice. Shinseki v.

Sanders, 556 U.S. 396, 409 (2009).

       Here, the Agencies issued the Rules after receiving “more than 100,000 public comments”

throughout six years of publishing and modifying these regulations, as part of an extensive

discussion about whether and by what extent to expand the exemptions at issue here. 82 Fed. Reg.

at 47,814. Plaintiff, like all interested parties, has had multiple opportunities to comment on the

scope of the exemptions and accommodations through multiple rounds of rulemaking, including

the issuance of three IFRs, one ANPRM, two NPRMs, and one RFI on these issues. See 75 Fed.

Reg. 41,726; 77 Fed. Reg. 16,501; 81 Fed. Reg. 47,741. The Commonwealth does not allege any

specific comments that it would have submitted on the Rules. And comments addressing each of

the claims that the Commonwealth now asserts were submitted in response to earlier rounds of

rulemaking on the exemption and accommodation. See, e.g., AR CD8 at 272126, 272089 (raising

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RFRA concerns), id. at 264554, 269764 (raising anti-discrimination concerns), id. at 264577,

265920 (raising Establishment Clause concerns), id. at 218156, 262356 (raising equal protection

concerns). Finally, the Commonwealth had another opportunity to comment on the expanded

exemptions before final rules are issued. The Commonwealth cannot meet its burden to establish

prejudice from any error in foregoing a comment period before the issuance of these IFRs.

III.   The Rules Are Valid Under the APA Because They Are in Accordance with Law,
       and Not in Excess of Statutory Authority.

       Plaintiff contends that the Rules violate the APA’s substantive limits on legislative rules

because they (1) are not in accord with various laws (including the ACA and RFRA) and (2) are

arbitrary and capricious. Pl. MSJ at 21-33. These contentions are incorrect.

       A.      The Affordable Care Act Allows the Agencies to Create Exemptions.

       Plaintiff asks this Court to read out of the statute any discretion for the Agencies to provide

exemptions for conscience, notwithstanding the fact that multiple administrations have enacted

such exemptions, and that courts have approved these actions. Plaintiff contends that (with the

exception of grandfathered plans) “Congress did not intend to give HRSA authority to devise

additional exemptions.” See Pl. MSJ at 23. Plaintiff leans heavily on the fact that the word “shall”

is included in the statute, but entirely ignores the numerous textual indications that the statute

leaves the Agencies to determine the contours of the Mandate.

       The preventive services requirement of the Public Health Service Act (PHS Act), as

modified by the ACA, is structured to operate through an exercise of agency discretion to craft

minimum requirements for women’s preventive healthcare and screenings. That is, the statute

itself does not mandate coverage of any particular services; instead, the PHS Act requires that

covered group health plans “shall, . . . at a minimum provide coverage for . . . with respect to

women, such additional preventive care and screenings . . . as provided for in comprehensive

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guidelines supported by the Health Resources and Services Administration for purposes of this

paragraph.” 42 U.S.C. § 300gg-13(a)(4). The ACA then delegates general regulatory authority to

the Agencies to “promulgate such regulations as may be necessary or appropriate to carry out the

provisions” of the ACA. Id. § 300gg-92; 26 U.S.C. § 9833; 29 U.S.C. § 1191c. Inherent in these

provisions is a direction by Congress to develop “comprehensive guidelines . . . for purposes of

this paragraph” to determine how such “preventive care and screenings” will be “provided”; no

such guidelines pre-dated the ACA. See 76 Fed. Reg. at 46,623; 82 Fed. Reg. at 47,794.

       The Agencies (as administering agencies of the applicable statutes) and HHS (as the agency

within which HRSA is located) possess general rulemaking authority to guide the development of

those guidelines. The text and structure of the preventive coverage provision are a clear grant of

authority to the Agencies. Section (a) of that provision identifies four categories of services for

which covered health plans must provide coverage without any cost-sharing requirements:

       (1) evidence-based items or services that have in effect a rating of “A” or “B” in
       the current recommendations of the United States Preventive Services Task Force;

       (2) immunizations that have in effect a recommendation from the Advisory
       Committee on Immunization Practices of the Centers for Disease Control and
       Prevention with respect to the individual involved; and

       (3) with respect to infants, children, and adolescents, evidence-informed preventive
       care and screenings provided for in the comprehensive guidelines supported by the
       Health Resources and Services Administration.

       (4) with respect to women, such additional preventive care and screenings not
       described in paragraph (1) as provided for in comprehensive guidelines supported
       by the Health Resources and Services Administration for purposes of this
       paragraph.

42 U.S.C. § 300gg-13(a)(1)-(4).        Because the recommendations and guidelines noted in

subsections (a)(1) - (3) were in existence at the time Congress enacted that statutory provision, but

the guidelines described in subsection (a)(4) were not, the reference to such guidelines must be



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understood as a grant of authority to develop them.

       Several textual indicia underline the Agencies’ broad latitude to determine the scope of

coverage and to establish exemptions. The preventive services Mandate is only one among a list

of four coverage requirements included in the relevant portion of the ACA. See 42 U.S.C. § 300gg-

13(a)(1)-(a)(4). Yet it differs textually from the other requirements. For example, the textually-

adjacent requirement that employers cover children’s health services renders obligatory those

children’s services “provided for” by HRSA. See id. § 300gg-13(a)(3) (requiring coverage of,

“with respect to infants, children, and adolescents, evidence-informed preventive care and

screenings provided for in the comprehensive guidelines supported by the Health Resources and

Services Administration”) (emphasis added).      By contrast, the preventive services Mandate

requires provision of preventive services “as provided for” by HRSA (emphasis added). See id. §

300gg-13(a)(4) (requiring coverage of, “with respect to women, such additional preventive care

and screenings not described in paragraph (1) as provided for in comprehensive guidelines

supported by the Health Resources and Services Administration for purposes of this paragraph”)

(emphasis added). The use of the word “as” reinforces Congress’s delegation to HRSA to

determine not only the services covered, but also the manner and reach of that coverage.

       Similarly, two of the coverage requirements adjacent to the women’s preventive services

Mandate require coverage that is “evidence-based” or “evidence-informed.” See id. § 300gg-

13(a)(3) (requiring “evidence-informed preventive care and screenings” for children); id. § 300gg-

13(a)(1) (requiring coverage of “evidence-based items or services that have in effect a rating of

‘A’ or ‘B’ in the current recommendations of the United States Preventive Services Task Force”).

The Mandate includes no such requirement. See id. § 300gg-13(a)(4). To be sure, the Agencies’

Guidelines are grounded in evidence. But the omission of the requirement that the Mandate cover



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all “evidence-based” services leaves open the possibility that other, policy-based concerns should

play a role in determining its scope.

       For these reasons, since their very first rulemaking on this subject in 2011, the Agencies

have consistently interpreted this delegation of authority to include the power to provide limited

exceptions that reconcile the ACA’s preventive-services provision with strongly held religious and

moral views on the sensitive issue of contraceptive coverage. See, e.g., 76 Fed. Reg. at 46,625; 78

Fed. Reg. at 39,889. Because the Agencies acted within the authority granted to them under these

statutes, they did not violate the APA. See Chevron U.S.A. v. Nat’l Res. Def. Council, 467 U.S.

837, 842-43 (1984) (“If the intent of Congress is clear, that is the end of the matter; for the court,

as well as the agency, must give effect to the unambiguously expressed intent of Congress.”).

       Even if the statutory text were somehow ambiguous, this Court should defer to the

Agencies’ reasonable interpretation; under the familiar Chevron framework, a court must defer to

an agency’s reasonable interpretation of an ambiguous statute if the agency was given rulemaking

authority. Chevron, 467 U.S. at 843 (“[I]f the statute is silent or ambiguous with respect to the

specific issue, the question for the court is whether the agency’s answer is based on a permissible

construction of the statute”). 11 Hence, even if the statutes were ambiguous in their grant of

discretion to the Agencies to craft or modify contraceptive coverage exemptions, the Agencies’

construction must prevail because it is a reasonable one.

       Plaintiff’s alternative suggestion, that the Guidelines supported by HRSA for subsection

(a)(4) can never allow exemptions except as required by RFRA or the First Amendment, cannot




11
   Contrary to Plaintiff’s assertion, see Pl. MSJ at 27, the Court may consider the applicability of
the Chevron framework regardless of whether the Rules expressly cite Chevron, and nothing in
either Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117 (2016), or Motor Vehicle Mfrs. Ass’n
v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29 (1983), provides to the contrary.
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be correct. As noted above, the statute expressly contemplates a policy decision about the extent

to which preventive services for women must be covered under that subsection. Although the

statute does not expressly mention exemptions, neither does the statute mention contraception. See

42 U.S.C. § 300gg-13(a)(4). What the statute does say is that the Guidelines only “shall” apply to

the extent HRSA provides for and supports their application. HRSA has decided to do neither

with respect to exempt entities.     In light of other provisions of federal law that limit the

government’s power to require contraceptive coverage, see, e.g., Hobby Lobby, 134 S. Ct. at 2785

(holding that “[t]he contraceptive mandate, as applied to closely held corporations, violates

RFRA”), Plaintiff’s reading of the statute as prohibiting any exemptions would threaten the

validity of the contraceptive mandate itself. And even a reading of subsection (a)(4) as authorizing

HRSA to adopt exemptions only when absolutely required to do so would make it nearly

impossible for the Agencies to maintain a contraceptive mandate, due to the threat of perpetual

litigation about the scope of such exemptions.

       Plaintiff also observes that Congress, years after it enacted the ACA, failed to pass a

proposed “conscience amendment” to the preventive services provision, see Pl. MSJ at 26-27, but

“failed legislative proposals are a particularly dangerous ground on which to rest an interpretation

of a prior statute.” Cent. Bank of Denver v. First Interstate Bank of Denver, 511 U.S. 164, 187

(1994) (citation omitted). Congress may decline to adopt a proposal for any number of reasons,

including “that the existing legislation already incorporated the offered change.” Id. At most, the

failure of a proposed conscience amendment shows that Congress chose not to mandate such an

exemption; it says nothing about whether Congress granted the Agencies an authority to craft one.

See 158 Cong. Rec. S485 (daily ed. Feb. 9, 2012) (statement of Sen. Reid) (“They are talking about

first amendment rights, the Constitution. I appreciate that. But that is so senseless. This debate



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that is going on dealing with this issue, dealing with contraception, is a rule that has not been made

final yet. There is no final rule. Let’s wait until there is at least a rule we can talk about.”).

        Plaintiff also attempts to cull from the enactment of the grandfathered plans exemption the

inference that Congress meant that to be the only exemption. See Pl. MSJ at 23. But the

grandfathering exemption is significant primarily because it demonstrates that Congress did not

intend absolutely uniform minimum coverage across employers.               Contra Pl. MSJ at 25-26

(claiming incorrectly that the “purpose of the Amendment was to ensure that all health plans cover

cost-free preventative care services for women”). No such intention can be gleaned with respect

to some other coverage requirements; Congress exempted millions of individuals from this

preventive services provision, an exemption that it did not extend to other provisions of the ACA

previously described by the Agencies as “particularly significant protections,” 75 Fed. Reg. at

34,540. Indeed, “of the 150 million nonelderly people in America with employer-sponsored health

coverage, approximately 25.5 million are estimated to be enrolled in grandfathered plans” not

subject to the preventive coverage provision. 82 Fed. Reg. at 47,794. No federal law requires this

exemption ever to be phased out. Id.

        Notwithstanding Plaintiff’s protestations, it is thus fully reasonable that the Agencies

would promulgate rules allowing HRSA to issue Guidelines supporting contraceptive coverage so

long as such Guidelines afford exemptions to those with religious or moral objections to providing

such coverage. The history and purpose of the regulations underscore the reasonableness of the

Agencies’ interpretation. The Agencies have long interpreted the statutory language to authorize

the Guidelines to delineate both the nature and the extent of coverage. See id. (describing the

regulatory history of the contraceptive coverage mandate exemptions). From the very beginning

of the Agencies’ rulemaking process, they have interpreted Section 300gg-13(a)(4) to authorize



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them to craft exemptions from a contraceptive-coverage requirement for objecting entities. See 76

Fed. Reg. at 46,621 (creating the first religious exemption from the contraceptive coverage

requirement in the 2011 IFR). The exemptions have persisted through multiple rulemakings and

administrations, although, consistent with the statute’s grant of discretionary authority, they have

not remained static. For example, in 2013, the definition of “religious employer” was expanded

by eliminating the three-part test that had been present in the original 2011 IFRs. See 78 Fed. Reg.

at 39,896 (2013 Final Rules). The 2013 rules also created the accommodation process through

which religious employers could claim the exemption. Id. The new IFRs represent simply one

further exercise of the statute’s discretionary grant.

       Because the text of the statute, history, and the purpose of the Rules demonstrate that the

Agencies reasonably interpreted the bounds of their statutory jurisdiction, this Court should defer

to the Agencies’ interpretation if it determines that the statute is ambiguous. See City of Arlington

v. FCC, 569 U.S. 290, 296-305 (2013).

       B.      The Agencies Have Valid Justifications for Creating the Religious and Moral
               IFRs.

       Plaintiff claims that that the Agencies acted without valid justification, but entirely fail to

discuss the prevailing legal standard, as set forth under 5 U.S.C. § 706. See Pl. MSJ at 15 (quoting

the standard without discussion, and failing to mention it elsewhere). In fact, the arbitrary and

capricious standard is highly deferential, and presumes the validity of agency action. Motor

Vehicles Mfrs. Ass’n of U.S., Inc. v. Ruckelshaus, 719 F.2d 1159 (D.C. Cir. 1983). A court may

not substitute its judgment for that of the agency, Citizens to Pres. Overton Park, Inc. v. Volpe,

401 U.S. 402, 416 (1971), but must instead affirm an agency’s decision if a rational basis for that

decision has been provided, even if the court disagrees. E.g., Bowman Transp., Inc. v. Ark. Best

Freight Sys., 419 U.S. 281, 285 (1974) (“The agency must articulate a rational connection between

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the facts found and the choice made.”). Agency action is not arbitrary or capricious if it “is rational,

based on consideration of the relevant factors and within the scope of the authority delegated to

the agency by the statute.” State Farm, 463 U.S. at 42; see also Overton Park, 401 U.S. at 416

(holding that an agency must consider relevant factors and reasonable alternatives).

       Agency action is not subject to any more searching standard of review simply because it

represents a change in administrative policy. FCC v. Fox Television Studios, Inc., 556 U.S. 502,

515 (2009). An agency that implements a change in policy “need not demonstrate, to a court’s

satisfaction, that the reasons for the new policy are better than the reasons for the old one.” Id.

Instead, it suffices that the new policy is permissible under the statute, that there are good reasons

for it, and that the agency believes the new policy to be better. Id.

       Contrary to Plaintiff’s assertions, the Agencies listed multiple valid justifications for

issuing the IFRs, including (1) numerous comments submitted in recent requests for public

comment; (2) the interest in concluding long-running litigation; (3) Executive Order 13798

“Promoting Free Speech and Religious Liberty” (May 4, 2017); (4) reconsideration of the interests

served by the existing Guidelines, regulations, and accommodation process (which remains

available as an optional avenue for exempt entities); and (5) the structure and intent of Section

2713(a)(4)’s grant of discretion to HRSA, along with Congress’ history of protecting religious and

moral beliefs in the context of health. See 82 Fed. Reg. at 47,793. Having considered these factors,

the Agencies concluded that extending a broader exemption and optional accommodation process

to those with sincere religious or moral objections to providing contraceptive coverage “better

balance[s] the Government’s interest in ensuring coverage for contraceptive and sterilization

services in relation to the Government’s interests, including as reflected throughout Federal law,

to provide conscience protections . . . and to minimize burdens in . . . regulation of the health



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insurance market.” Id.      Plaintiff’s arguments that that action was arbitrary and capricious

manifestly fail.

       First, the Agencies properly considered their interest in concluding the litigation over the

previous rules. An agency does not act arbitrarily or capriciously where it considers the burdens

of ongoing litigation when changing agency policy. Associated Builders & Contractors of Texas,

Inc. v. NLRB, 826 F.3d 215, 229 (5th Cir. 2016) (agency did not act arbitrarily where the decision

to change an NLRB rule was informed partially by a desire to reduce the burdens of ongoing

litigation). The litigation engendered by the Mandate has consumed substantial government

resources and has required attention at the highest levels. Indeed, since the Zubik remand, the

government has been filing monthly status reports around the country and has been warned that

failure to resolve the outstanding issues with the litigants in a timely manner will lead to oral

argument on the merits of some cases. 82 Fed. Reg. at 47,814. By extending a broader exemption,

the Agencies have effectively provided the relief that plaintiffs sought in those suits.

       Second, an Executive Order provides an agency with a valid, non-arbitrary reason to act,

because such Orders carry the weight of the President’s Article II directive power. See Myers v.

United States, 272 U.S. 52 (1926) (recognizing an implied directive power flowing from Article

II’s Appointments Clause, Executive Vesting Clause, and Take Care Clause). For purposes of the

APA, an agency has a reasoned basis to enter into a rulemaking where the President has instructed

it to do so. See Sherley v. Sebelius, 689 F.3d 776, 784 (D.C. Cir. 2012) (finding that agency

rulemaking was not arbitrary and capricious, because the agency “may not simply disregard an

Executive Order. To the contrary, as an agency under the direction of the executive branch, it

must implement the President’s policy directives to the extent permitted by law”). On May 4,

2017, the President issued an Executive Order entitled “Promoting Free Speech and Religious



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Liberty,” which, under a heading labeled “Conscience Protections with Respect to Preventive-Care

Mandate,” instructed the Secretaries of Treasury, Labor, and HHS to “consider issuing amended

regulations, consistent with applicable law, to address conscience-based objections to the

preventive-care mandate promulgated under section 300gg-13(a)(4) of title 42, United States

Code.” Exec. Order No. 13,798, 82 Fed. Reg. at 21,765. This Executive Order, as an exercise of

the President’s constitutional directive powers, provides the Agencies with yet another valid reason

for promulgating the IFRs.

       Third, the Agencies carefully reconsidered the interests served by the former regulations

and concluded that the interests served by applying the Mandate to certain organizations with

sincere religious or moral objections to providing such contraception coverage did not justify the

burden on conscience from requiring them to do so. The Agencies noted that Congress had not

required any provision of contraceptive coverage under the ACA and had elected not to apply the

preventive-services provision to grandfathered plans, and that the Agencies had provided

exemptions from the Mandate since its creation. Each of these facts undermines the government’s

interest in applying the Mandate to entities with sincere conscience objections. Congress’s

repeated efforts to protect religious beliefs and moral convictions in the healthcare context likewise

weigh against applying the Mandate to such entities, as does the fact that many objecting entities

have been willing to provide coverage of at least some contraceptives, and the litigation evidence

that employees of objecting entities are more likely to share the conscience objections of their

employer than are employees of other organizations. 82 Fed. Reg. at 47,799-803, 47,844-48.

       Fourth, the Agencies determined that the administrative record was insufficient to

overcome their concerns about these conscience objections, particularly in light of the ambiguity

of evidence concerning whether contraceptive coverage accounts for a significant portion of the



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preventive services cost gap between men and women, the existence of numerous other

governmental programs to assist low-income women to access free or subsidized contraception,

the lack of tailoring between the Mandate and women most likely to experience unintended

pregnancies, and the ambiguity of evidence that access to contraceptive coverage actually

decreases unintended pregnancies. Id. at 47,804. For all these reasons, the Agencies decided that

although the Mandate continued to be justified in the ordinary course, the serious conscience

objections raised in opposition to the Mandate warranted expanded exemptions.

       Finally, Plaintiff’s attempt to cast the new exemption as boundless or extreme are

unfounded. See Pl. MSJ at 15 (the new Rules “empower[ ] virtually any employer, university, or

health insurer to drop coverage for contraceptive services for women”). As an initial matter, the

Rules create two exemptions – one religious and one moral – not ten. See Pl. MSJ at 27. Moreover,

the Rules not only allow HRSA to maintain the mandate for contraceptive coverage without cost

sharing for non-exempt plans, see 82 Fed. Reg. at 47,807 (“granting exemptions . . . does not

undermine the Government’s interest in ensuring the provision of such coverage to other

individuals who wish to receive it”), but also keep the former accommodation process as an

optional avenue for eligible employers, 82 Fed. Reg. at 47,806. In addition, the Rules’ exemptions

are available only to a tiny subset of employers – those with sincere religious and moral objections

to providing contraceptive coverage – and apply only to the extent of the objection. Id.; 82 Fed.

Reg. at 47,853-54 (scope of the individual moral exemption). The new exemptions also serve to

level the playing field for employers that share the same kinds of religious convictions the old

exemption rules were intended to address, but that would not previously have been eligible for an

exemption for reasons unrelated to their religious objections. See 82 Fed. Reg. at 47,801 (“[M]any

similar religious organizations are being treated very differently [under the previous rules] with



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respect to their employees receiving contraceptive coverage”). The Agencies anticipate that the

Rules will only moderately expand the number of employers who take advantage of the

exemptions. See 82 Fed. Reg. at 47,819 (“We expect that some non-litigating entities will use the

[expanded exemption], but . . . we believe it might not be very many more.”). Far from being

arbitrary or capricious action, the Rules embody the care that the Agencies took not to forsake the

interests of the previous regulatory regime, while nonetheless protecting religious beliefs and

moral convictions.

       C.      RFRA Requires the Religious Exemption Rule.

       Massachusetts argues both Rules are unlawful because they are not required by RFRA. Pl.

MSJ at 29-33. As to the Moral Exemption Rule, this argument is a straw man, because the

Agencies did not rely on RFRA as support for that rule; the ACA itself provides ample support for

both Rules by affording the Agencies and HRSA the discretion to create exemptions to

accommodate sincere religious and moral objections to providing contraceptive coverage. See

supra III.A. By contrast, the Religious Exemption Rule is not only permitted by the ACA, but

also required by RFRA.

       Congress enacted RFRA in 1993 in response to Employment Division v. Smith, 494 U.S.

872 (1990), which “held that the Constitution does not require judges to engage in a case-by-case

assessment of the religious burdens imposed by facially constitutional laws,” Gonzales v. O Centro

Espirita Beneficente Uniao do Vegetal, 546 U.S. 418, 424 (2006). Through RFRA, Congress

sought to provide fuller protection for the exercise of religion than the Supreme Court had

interpreted the Constitution to provide. Accordingly, with one exception, “[u]nder RFRA, the

Federal Government may not, as a statutory matter, substantially burden a person’s exercise of

religion, even if the burden results from a rule of general applicability.” Id. The exception is this:



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a law that imposes a substantial burden on the exercise of religion is allowed under RFRA if the

government “demonstrates that application of the burden to the person – (1) is in furtherance of a

compelling governmental interest; and (2) is the least restrictive means of furthering that

compelling governmental interest.” 42 U.S.C. § 2000bb-1(b).

       The Commonwealth initially argues that the Rules (and the exemptions they enact) are

lawful only if they are required by RFRA because the ACA otherwise requires the provision of

contraceptive coverage. Pl. MSJ. at 29. Building from this premise, Massachusetts contends that

RFRA does not require the Rules – because the accommodation is consistent with RFRA – and

that, in any case, the Agencies have not explained their change in position regarding the existence

of a substantial burden. Id. at 31-33. Nor, the Commonwealth argues, have the Agencies

adequately considered the burden that the Rules will impose on women, as required by Hobby

Lobby. Id. at 32. Finally, Massachusetts concludes that the Moral Exemption Rule is not required

by RFRA because it does not relieve religious burdens. Id. at 33.

       Massachusetts’ arguments are meritless. First, as explained above, the ACA affords the

Agencies and HRSA the discretion to exempt from the Mandate those with sincere religious and

moral objections to the provision of contraceptive services. See supra III.A.

       Second, contrary to the Commonwealth’s argument, the Religious Exemption Rule is

required by RFRA because the accommodation violates RFRA with respect to certain entities. As

the Eighth Circuit recognized in Sharpe Holdings, Inc. v. HHS, the accommodation requires some

religious objectors to “act in a manner that they sincerely believe would make them complicit in a

grave moral wrong as the price of avoiding a ruinous financial penalty.” 801 F.3d 927, 941 (8th

Cir. 2015), cert. granted, judgment vacated sub nom. HHS v. CNS Int’l Ministries., No. 15-775,

2016 WL 2842448 (May 16, 2016). The Commonwealth counters that the accommodation



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required only that an objector mail in an opt-out form and that this duty cannot constitute a

substantial burden on anyone’s religious beliefs. Pl. MSJ at 31-32. But it is not the government’s

role “to say that [objectors’] religious beliefs are mistaken or insubstantial,” Hobby Lobby, 134 S.

Ct. at 2779, and many objectors – about a thousand plaintiffs litigated over fifty cases on this issue

– concluded that complying with the accommodation would, in fact, violate their sincerely-held

religious beliefs. The Agencies thus reasonably concluded that “requiring certain objecting entities

or individuals to choose between the Mandate, the accommodation, or penalties for noncompliance

imposes a substantial burden on religious exercise under RFRA.” 82 Fed. Reg. at 47,800.

       Third, Massachusetts’ argument that the Agencies did not adequately explain their change

in position regarding whether the accommodation imposes a substantial burden similarly fails. As

noted earlier, the Agencies “need not demonstrate, to a court’s satisfaction, that the reasons for the

new policy are better than the reasons for the old one.” Fox Television Studios, 556 U.S. at 515.

Rather, it suffices that the new policy is permissible under the statute, that there are good reasons

for it, and that the agency believes the new policy to be better. Id. The conclusion that the

accommodation imposes a substantial burden comports with the statute, as discussed in the

preceding paragraph. Moreover, as the Agencies explained, there are good reasons to reach this

conclusion: “We believe that the Court’s analysis in Hobby Lobby extends, for the purposes of

analyzing a substantial burden, to the burdens that an entity faces when it religiously opposes

participating in the accommodation process or the straightforward Mandate, and is subject to

penalties or disadvantages that apply in this context if it chooses neither.” 82 Fed. Reg. at 47,800.

And the Agencies concluded that this decision was not only better, but legally required: “[T]here

is not a way to satisfy all religious objections by amending the accommodation. Accordingly, the

[Agencies] have decided it is necessary and appropriate to provide the expanded exemptions.” Id.



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And as explained above, the Agencies concluded on January 9, 2017 that, after reviewing

comments and considering various options, they were unable to find a way to amend the

accommodation to satisfy objecting organizations while also pursuing their own policy goals.

       Fourth, consistent with RFRA and Hobby Lobby, the Agencies did address the burden that

adoption of the expanded religious exemption would have on women. Hobby Lobby counseled

that “in applying RFRA courts must take adequate account of the burdens a requested

accommodation may impose on nonbeneficiaries” and that such “consideration will often inform

the analysis of the Government’s compelling interest and the availability of a less restrictive means

of advancing that interest.” 134 S. Ct. at 2781 n.37 (citation omitted). Pursuant to that discretion,

the Religious Exemption Rule addressed the effect of the expanded exemption on women in the

context of considering whether the government has a compelling interest. 82 Fed. Reg. at 47,803-

06. For example, the Agencies considered at length evidence regarding whether enacting a broader

exemption would meaningfully alter access to contraception or the number of unwanted

pregnancies, as well as evidence regarding the health effects of contraceptives. Id. at 47,803-05.

Ultimately, they found that the limited impact on a small number of women was warranted by the

comparatively large intrusion on religious liberty and freedom of conscience.

       Fifth, the logic of Plaintiff’s position would sweep away the longstanding church

exemption. Plaintiff tries to cabin its position, asserting that the church exemption is required by

RFRA, but that the broader exemption in the new Rules is not. Pl. MSJ at 30. But there is no

principled basis in RFRA to cabin the exemption only to churches. See 42 U.S.C. § 2000bb-1

(protecting “a person’s exercise of religion”); 1 U.S.C. § 1 (defining “person” broadly). If the

church exemption is required under RFRA, as Plaintiff concedes, then so too are the new Rules’

exemptions. Alternatively, if Plaintiff were to deny that even the church exemption is permissible,



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that would call into question the legality of the contraceptive coverage mandate itself. Hobby

Lobby establishes that the unadorned contraceptive coverage mandate, without exemptions, is

unlawful. See Hobby Lobby, 134 S. Ct. at 2785. And it would be particularly problematic if the

statute were read to require churches to provide contraceptive services that they consider to be

abortifacients.

       Finally, Massachusetts contends that the Moral Exemption Rule lacks legal foundation

because it is not supported by RFRA. Not so. To be clear, RFRA plays no part in the Agencies’

defense of the Moral Exemption Rule. But as explained above, the ACA gives the Agencies the

discretion to determine what services will be covered, and to what extent, by the Mandate. Federal

law has long recognized that it is appropriate for the government to protect freedom of conscience.

See Welsh v. United States, 398 U.S. 333, 340 (1970) (individual qualified as a religious

conscientious objector to the draft if he or she “deeply and sincerely holds beliefs that are purely

ethical or moral in source and content but that nevertheless impose upon him a duty of conscience

to refrain from participating in any war at any time, those beliefs certainly occupy in the life of

that individual ‘a place parallel to that filled by . . . God’ in traditionally religious persons”)

(plurality opinion); United States v. Seeger, 380 U.S. 163 (1965) (similar holding); Doe v. Bolton,

410 U.S. 179, 197-98 (1973). 12 The moral exemptions bring the Mandate into harmony with



12
  Massachusetts argues, in a footnote, that the Rules violate Title VII and, therefore, the APA. Pl.
MSJ at 33 n.28. This argument is flawed. As an initial matter, no relief is available for a Title VII
violation under the APA. A plaintiff may bring an APA claim only if there is no other adequate
legal remedy available. 5 U.S.C. § 704. But, if the Title VII argument had any merit, an adequate
remedy would be available: a Title VII suit against allegedly discriminating employers who avail
themselves of the exemptions. See Wash. Legal Found. v. Alexander, 984 F.2d 483, 486 (D.C.
Cir. 1993) (discrimination suits against third parties provide an adequate alternative remedy). In
any event, the Title VII argument has no merit. The Rules do not violate Title VII’s prohibition
on sex-based disparate treatment, see Smith v. F.W. Morse & Co., 76 F.3d 413, 420 (1st Cir. 1996).
They draw coverage distinctions based on whether an employer religiously or morally objects to
facilitating the provision of contraceptives, not on whether an individual is a woman or pregnant.
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numerous federal statutes providing parallel conscience protections for religious beliefs and moral

convictions. See, e.g., 82 Fed. Reg. at 47,844-46. The Agencies have policy discretion under the

ACA to provide for and support the Mandate in such a manner.

       D.      At a Minimum, the Religious Exemption Rule Was a Permissible Response to
               the Substantial Burden on Religious Exercise Imposed by the Mandate.

       Even if this Court determines that RFRA does not require the expansion of the religious

exemption – or opts not to resolve that question here – it should hold that, at a minimum, RFRA

authorized the Agencies to adopt the Religious Exemption Rule. The Supreme Court’s decision

in Hobby Lobby makes clear that, absent some form of exemption or accommodation, the Mandate

imposes a substantial burden on employers with religious objections to providing contraceptive

coverage. 134 S. Ct. at 2775. As discussed above, previously, the Agencies “attempted to develop

an accommodation that would either alleviate the substantial burden imposed on religious exercise

or satisfy RFRA’s requirements for imposing that burden.” 82 Fed. Reg. at 47,806. But the

Agencies’ attempts did not resolve the sincere religious objections asserted by dozens of

employers, and instead led to half a decade of RFRA litigation and serial regulatory amendments.

Id. at 47,814. Those efforts imposed significant costs on the Agencies and the courts – as well as

on regulated entities and their plan participants and beneficiaries, who were left uncertain about



That the Rules relate to contraceptives for women does not establish that they discriminate on the
basis of sex. Contraceptives are used by both men and women, and though the Rules expand the
exemption for female contraceptives, male contraceptives remain completely uncovered under
federal law. See In Re Union Pac. R.R. Emp’t Practices Litig., 479 F.3d 936, 940-42 & n.1 (8th
Cir. 2007) (holding that Title VII “does not require coverage of contraception because
contraception is not a gender-specific term like potential pregnancy, but rather applies to both men
and women”). Nor do they run afoul of Title VII’s disparate impact prohibition. See Smith, 76
F.3d at 420. The Rules do not have a disproportionate impact on women because no male may
receive contraceptive services covered under 42 U.S.C. § 300gg-13(a)(4), whereas female
contraceptive services are covered except where an exemption applies. Massachusetts also argues
that the Rules violate the ACA’s anti-discrimination provision. See 42 U.S.C. § 18116. But, as
explained here, the Rules do not discriminate against women on the basis of sex.
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their legal rights and obligations.

       Under the circumstances, the Agencies reasonably determined that rather than engaging in

further efforts to “revis[e] the accommodations previously offered” – an approach that would have

entailed continued litigation in dozens of cases, with no foreseeable end – a broader exemption

was “the most appropriate administrative response” to the substantial burden identified in Hobby

Lobby. Id. at 47,806. The Agencies emphasized that they would have adopted the Religious

Exemption Rule “[e]ven if RFRA does not compel [it].” Id.

       This independent ground identified by the Agencies provides a fully sufficient basis for

upholding the Religious Exemption Rule. Under Hobby Lobby, RFRA required the Agencies to

take some action to respond to the substantial burden imposed by the unmodified Mandate. 134

S. Ct. at 2775. Plaintiff essentially asserts that because (in its view) the prior administrative

accommodation did not violate RFRA, the Agencies were required to maintain it. But even if

Plaintiff were correct that the accommodation did not violate RFRA, Plaintiff identifies no legal

authority precluding the Agencies from responding to the substantial burden identified in Hobby

Lobby with a broader exemption. No such authority exists. “RFRA does not . . . prescribe the

accommodation that the government must adopt” in response to a substantial burden; instead, it

leaves agencies with a measure of “discretion to fashion an appropriate and administrable response

to respect religious liberty interests implicated by their own regulations.” 82 Fed. Reg. at 47,806.

And allowing agencies to choose to respond to a substantial burden on religious exercise with an

exemption rather than an accommodation is particularly appropriate here, where the Agencies have

already attempted several accommodations, and those accommodations were the subject of

widespread legal challenges that divided the courts and (at an absolute minimum) raised serious

questions about their validity.



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       Plaintiff’s contrary approach would place agencies in an impossible position. Agencies are

often presented with claims that statutory or regulatory requirements substantially burden the

exercise of religion. On Plaintiff’s view, an agency faced with such a claim would apparently be

legally prohibited from allowing an exemption unless it concluded that no possible

accommodation short of an exemption would be possible and consistent with RFRA. That is a

recipe for protracted and unnecessary litigation.

       It is also inconsistent with the Supreme Court’s recognition in analogous contexts that an

entity faced with potentially conflicting legal obligations should be afforded some leeway. For

example, the Court has held that, under Title VII, an employer may “engage in intentional

discrimination for the asserted purpose of avoiding or remedying an unintentional disparate

impact” if the employer has “a strong basis in evidence to believe it will be subject to disparate-

impact liability if it fails to take the race-conscious, discriminatory action.” Ricci v. DeStefano,

557 U.S. 557, 585 (2009). Critically, the Court did not require the employer to prove that it

actually would “be subject to disparate-impact liability.” The Court explained that the more

flexible standard it adopted “appropriately constrains employers’ discretion in making race-based

decisions” but was not “so restrictive that it allows employers to act only when there is a provable,

actual violation” – a standard that would have left employers in an untenable position. Id. at 583.

So too here. Particularly where, as in this case, the Agencies are faced with substantial claims that

RFRA compels an exemption – claims that have been accepted by many courts – the Agencies

should be permitted to adopt that exemption even if the courts might ultimately have concluded

that some form of accommodation would have been consistent with RFRA. See Nat’l Ass’n of

Home Builders v. Defenders of Wildlife, 551 U.S. 644, 666 (2007) (when a statutory scheme

contains “a fundamental ambiguity” arising from “the differing mandates” of two provisions, “it



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is appropriate to look to the implementing agency’s expert interpretation” to determine which

“must give way”).

IV.    The Rules Do Not Violate the Establishment Clause.

       Plaintiff alleges that the Rules violate the Establishment Clause. Am. Compl. ¶¶ 94-99; Pl.

MSJ at 33-37. Specifically, Plaintiff alleges that the Rules intend to and do have the effect of

advancing religious interests. Am. Compl. ¶ 96; Pl. MSJ at 34. This allegation has no merit. The

Rules’ protections of religious exercise for entities and individuals with objections to contraception

coverage do not run afoul of the Establishment Clause. The Rules do not themselves promote or

subsidize a religious belief or message, as demonstrated most clearly by the fact that the

exemptions expressly include nonreligious entities and persons. Instead of establishing religion,

the Rules free entities and individuals with objections to the provision of contraception coverage

to act as they otherwise would in the absence of government-imposed regulations. The Rules

represent a constitutional exercise of executive authority to alleviate unjustified substantial

burdens on the exercise of moral convictions and religious beliefs.

       When government relieves such burdens, it does not violate the Establishment Clause;

rather, “it follows the best of our traditions.” Zorach v. Clauson, 343 U.S. 306, 314 (1952). “[I]n

commanding neutrality the Religion Clauses do not require the government to be oblivious to

impositions that legitimate exercises of state power may place on religious belief and practice.”

Bd. of Educ. of Kiryas Joel Vill. Sch. Dist. v. Grumet, 512 U.S. 687, 705 (1994). Rather,

“government may (and sometimes must) accommodate religious practices.”                 Corp. of the

Presiding Bishop of the Church of Jesus Christ of Latter-Day Saints v. Amos, 483 U.S. 327, 334

(1987) (quoting Hobbie v. Unemployment Appeals Comm’n of Fla., 480 U.S. 136, 144-45 (1987)).

And “‘there is room for play in the joints between’ the Free Exercise and Establishment Clauses,



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allowing the government to accommodate religion beyond free exercise requirements, without

offense to the Establishment Clause.” Cutter v. Wilkinson, 544 U.S. 709, 713 (2005). Thus, the

Supreme Court has upheld a broad range of accommodations against Establishment Clause

challenges, including the exemption of religious organizations from Title VII’s prohibition against

discrimination in employment on the basis of religion, see Amos, 483 U.S. at 335-39; a state

property tax exemption for religious organizations, see Walz v. Tax Comm’n of N.Y., 397 U.S. 664,

672-80 (1970); and a state program releasing public school children during the school day to

receive religious instruction at religious centers, see Zorach, 343 U.S. at 315.

        The Supreme Court and the First Circuit continue to apply the test articulated in Lemon v.

Kurtzman, 403 U.S. 602 (1971), to evaluate Establishment Clause challenges to government acts

seeking to accommodate the practice of religious beliefs. See Amos, 483 U.S. at 335; Boyajian v.

Gatzunis, 212 F.3d 1, 4 (1st Cir. 2000). As relevant here, under Lemon, a government act is

consistent with the Establishment Clause if “(1) it has a secular legislative purpose, [and] (2) its

principal or primary effect neither advances nor inhibits religion[.]” Boyajian, 212 F.3d at 4

(citations omitted). 13 The Rules easily satisfy this test. 14

        A.      The Rules Have a Secular Purpose.

        With respect to Lemon’s first prong – that the government act serves a secular legislative



13
   Lemon also requires that a government act “not foster excessive government entanglement with
religion.” Id. at 4 (citations omitted). Plaintiff does not challenge the Rules under this prong of
Lemon. See Pl. MSJ at 35 & n.31.
14
   The First Circuit has also occasionally applied an alternative “endorsement analysis” in
Establishment Clause cases, under which a court “must consider whether the challenged
governmental action has the purpose or effect of endorsing, favoring, or promoting religion.”
Freedom From Religion Found. v. Hanover Sch. Dist., 626 F.3d 1, 10 (1st Cir. 2010) (citing Cty.
of Allegheny v. ACLU, 492 U.S. 573, 593-94 (1989)). As demonstrated herein, the Rules satisfy
the endorsement analysis, regardless of whether it is understood to be a separate factor or merely
part of the inquiry into the Rules’ purpose and effect.
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purpose – the Supreme Court has recognized that it is a permissible governmental purpose to

alleviate significant governmental interference with the exercise of religion. Amos, 483 U.S. at

335. This was the precise aim of the Agencies in promulgating the Religious Exemption Rule.

See 82 Fed. Reg. at 47,793 (purpose of the Rules is “to better balance the Government’s interest

in ensuring coverage for contraceptive and sterilization services in relation to the Government’s

interests, including as reflected throughout Federal law, to provide conscience protections for

individuals and entities with sincerely held religious beliefs in certain health care contexts, and to

minimize burdens in our regulation of the health insurance market”). And the aim of the Agencies

in promulgating the Moral Exemption Rule was patently secular: the accommodation of moral

convictions not based in religion. Id. at 47,844.

       The first prong of the Lemon test “does not mean that the law’s purpose must be unrelated

to religion – that would amount to a requirement that the government show a callous indifference

to religious groups, and the Establishment Clause has never been so interpreted.” Boyajian, 212

F.3d at 5 (quoting Amos, 483 U.S. at 335). Rather, a law fails this prong “only if it is motivated

wholly by an impermissible purpose.” Bowen v. Kendrick, 487 U.S. 589, 602 (1988) (emphasis

added). Here, nothing in the Rules shows any intent to advance any particular faith or to promote

religion in general. See Rojas v. Fitch, 928 F. Supp. 155, 162 (D.R.I. 1996), aff’d, 127 F.3d 184

(1st Cir. 1997) (“The purpose of the Establishment Clause is to ensure that government will not

sponsor or promote any particular religion.”) (citing Walz, 397 U.S. at 669). Instead, the Rules

merely seek to alleviate certain substantial hardships faced by entities and individuals in the

provision of health insurance. Indeed, the fact that the Rules apply to entities and individuals with

secular, non-religious moral beliefs regarding the provision of contraception coverage confirms

that the Rules possess a secular purpose.



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       B.      The Effect of the Rules Is Neither to Advance Nor Inhibit Religion.

       The second prong of the Lemon test requires that a law’s “principal or primary effect . . .

neither advance[] nor inhibit[] religion.” Lemon, 403 U.S. at 612. Removing barriers to the

exercise of religious freedom does not advance religion; to the contrary, “there is ample room for

accommodation of religion under the Establishment Clause.” Amos, 483 U.S. at 338. The Rules

do not promote or subsidize a religious belief or message; they merely free entities and individuals

with religious or moral objections to contraception coverage to practice those beliefs and

convictions as they otherwise would in the absence of certain government-imposed regulations.

       Plaintiff misplaces its reliance on cases such as Estate of Thornton v. Caldor, Inc., 472 U.S.

703 (1985). Pl. MSJ at 34-36. 15 Thornton involved a statute that “compel[led] people to act in the

name of . . . religion” by requiring private employers to permit employees to take off work on their

chosen Sabbath day. Thornton, 472 U.S. at 708. By contrast, the Rules neither compel nor

encourage any action on private employer’s part. Rather, they leave room for private employers

to exercise their religion or moral conscience by declining to provide contraceptive coverage if

doing so would conflict with the employers’ religious beliefs or moral convictions. The lifting of

a government-imposed burden on religious exercise is permitted under the accommodation

doctrine referenced in Amos. See Texas Monthly, Inc. v. Bullock, 489 U.S. 1, 18 n.8 (1989)




15
   Also misplaced is Plaintiff’s reliance on the vacated decision in ACLU of Mass. v. Sebelius, 821
F. Supp. 2d 474 (D. Mass. 2012), vacated sub nom. ACLU of Mass. v. U.S. Conf. of Catholic
Bishops, 705 F.3d 44 (1st Cir. 2013). See Pl. MSJ at 35. The court in ACLU specifically
distinguished the case before it from “challenges to government actions that coincided with
religious beliefs, but were not found to be explicitly motivated by the beliefs of a particular
religious group,” 821 F. Supp. 2d at 486, and the Rules here are not so motivated. Moreover,
because the Establishment Clause is nowhere mentioned in the portions of Priests for Life cited by
Plaintiff, see Pl. MSJ at 36, 37, and no Establishment Clause violation was found in that case, see
772 F.3d at 272-74, it is irrelevant to the present claim. Nor does Bowen v. Roy, 476 U.S. 693
(1986), cited by Plaintiff, involve the Establishment Clause.
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(plurality opinion). In addition, Thornton involved government interference with private contracts.

By contrast, the Rules involve a benefit that the government need not have required at all. The

Establishment Clause should not be interpreted to require the government to broadly withdraw

benefits where a more targeted exemption would accommodate religious objectors.

V.     The Rules Do Not Violate the Fifth Amendment’s Equal Protection Principle.

       The Commonwealth argues that the Rules violate the equal protection component of the

Fifth Amendment’s Due Process Clause. Pl. MSJ at 37-40; see United States v. Windsor, 133 S.

Ct. 2675, 2695 (2013). It lacks standing to bring this claim, see supra n.5, and the claim is

meritless for much the same reason as the Title VII claim is.

       When faced with a claim of discrimination on the basis of sex, courts assess (i) whether

the classification is facially based upon sex and, if not, (ii) whether there are other factors – such

as the purpose of the law or the existence of a disparate impact – that demonstrate an invidious

intent to discriminate on the basis of sex. See Pers. Adm’r of Mass. v. Feeney, 442 U.S. 256, 274

(1979). With regard to “this second inquiry, [that] impact provides an important starting point,

but purposeful discrimination is the condition that offends the Constitution.” Id. (citations

omitted).   Sex-based distinctions are subject to intermediate scrutiny, meaning that such

distinctions must be substantially related to an important governmental interest. Wengler v.

Druggists Mut. Ins. Co., 446 U.S. 142, 150 (1980). Distinctions that do not target a protected class

or burden a fundamental right are subject to rational-basis review. Heller v. Doe, 509 U.S. 312,

319-20 (1993). Under this standard, “a classification must be upheld . . . if there is any reasonably

conceivable state of facts that could provide a rational basis for the classification,” regardless of

the actual basis for the distinction. Id. at 320 (citation omitted).




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       The Rules do not draw any sex-based distinction. Consistent with the ACA, the Rules do

not require health plans to cover male contraceptives, but do allow HRSA generally to require

coverage for female contraceptives without cost-sharing, while providing an exemption for those

with conscience objections. See 78 Fed. Reg. at 8,458 n.3. Any distinctions in coverage among

women are not premised on sex, but on whether the employer, other plan sponsor, or institution of

higher education objects, for religious or moral reasons, to facilitating the provision of

contraceptives. Men receive no better treatment. To the contrary, as noted, there is no requirement

in 42 U.S.C. § 300gg-13(a)(4) for any plan to cover male contraceptives. The statutory provision

requiring coverage for additional preventive services supported by HRSA pertains only to such

services for “women.” 42 U.S.C. § 300gg-13(a)(4). Any sex-based distinction is a function of the

statute, not the Rules.

       No other factor reflects any invidious intent to discriminate on the basis of sex. Consider

first the Rules’ purpose. Their stated purpose is sex-neutral: to “better balance the Government’s

interest in ensuring coverage for contraceptive and sterilization services in relation to the

Government’s interests, including as reflected throughout Federal law, [in] provid[ing] conscience

protections for individuals and entities with sincerely held religious beliefs [or moral convictions]

in certain health care contexts, and [in] minimiz[ing] burdens in our regulation of the health

insurance market.” 82 Fed. Reg. at 47,793, 47,839. This purpose finds support in the history of

the Rules. The Rules were not written on a blank slate, but against the backdrop of years of

litigation and negotiation between the Agencies and religious and moral objectors, who, prior to

these Rules, struggled to find common ground with the government. See, e.g., Hobby Lobby, 134

S. Ct. at 2764 n.10; Zubik, 136 S. Ct. at 1560.




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       Massachusetts argues that the Rules have a discriminatory impact against women, in

violation of the Fifth Amendment, because they “create exemptions only for women’s preventive

care . . . while leaving coverage for male employees untouched.” Pl. MSJ at 38-39. This argument

is flawed because it ignores the statutory and historical context of the Rules. The Agencies did

not arbitrarily target the Mandate. They focused on the Mandate because it was the source of

scores of lawsuits that (correctly) alleged that the Mandate imposed substantial burdens on

religious and moral objectors. See 82 Fed. Reg. at 47,793, 47,807, 47,839. And while male

coverage is “untouched,” that is because 42 U.S.C. § 300gg-13(a)(4) does not authorize a male

contraceptive services mandate in the first place, not because the Rules chose to afford different

treatment to male and female contraceptives. 78 Fed. Reg. at 8,458 n.3. Plaintiff’s argument, in

short, does not highlight any invidious discrimination.

       Because the Rules do not create sex-based distinctions, they are subject to rational basis

review. They satisfy this “lenient” test, Walker v. Exeter Region Co-op. Sch. Dist., 284 F.3d 42,

46 (1st Cir. 2002), because they are rationally related to legitimate government interests, Lyng v.

Int’l Union, 485 U.S. 360, 370 (1988). The Religious Exemption Rule accommodates religion by

“provid[ing] conscience protections for individuals and entities with sincerely held religious

beliefs in certain health care contexts.” 82 Fed. Reg. at 47,793. And the accommodation of

religious beliefs is an important government interest, as the Supreme Court recognized in Cutter,

544 U.S. at 720. (It would, therefore, satisfy intermediate scrutiny, if that standard applied.)

       The Moral Exemption Rule also has a rational basis (and would satisfy intermediate

scrutiny, if that standard applied).    The Rule is designed to protect “sincerely held moral

convictions” by exempting those with such convictions from facilitating the provision of

contraceptive services. 82 Fed. Reg. at 47,839. The government may permissibly accommodate



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deeply-held moral, but not religious, convictions; the accommodation of such beliefs is, in fact, an

important interest that the government has long pursued. See Welsh, 398 U.S. at 340 (plurality

opinion); Seeger, 380 U.S. at 169-70; Doe, 410 U.S. at 197-98. Congress has repeatedly legislated

conscience protections in sensitive health contexts, including the provision of contraceptive

services.   Indeed, the Commonwealth has repeatedly recognized, in both legislation and

regulations, that it is legitimate to protect non-religious moral beliefs in the context of healthcare.

See Mass. Gen. Laws ch. 112, § 12I; id. ch. 272, § 21B; 130 Mass. Code Regs. § 484.003. 16

                                          CONCLUSION

       Defendants respectfully request the Court to dismiss this action or enter summary judgment

for Defendants, and to deny Plaintiff’s motion for summary judgment.

 Dated: December 8, 2017                            Respectfully submitted,

                                                    CHAD A. READLER
                                                    Principal Deputy Assistant Attorney General



16
   In the course of arguing that the Rules do not satisfy intermediate scrutiny – a standard that does
not apply – Plaintiff makes several points that warrant a response. First, it argues that the Agencies
should have created exemptions to other services, such as immunizations, for which coverage is
mandated because those services too could be subject to religious objections. Pl. MSJ at 39. This
insistence on more expansive religious exemptions is odd given Plaintiff’s complaints about the
Agencies advancing religion at the expense of non-adherents. In any case, the Agencies have not
been subjected to a spate of lawsuits regarding these other services. Second, Massachusetts
suggests that the Agencies have no interest in protecting the religious and moral beliefs of objectors
because Congress declined to adopt an exemption to the Mandate. Id. at 40. But RFRA and
precedent such as Welsh, Seeger, and Doe demonstrate otherwise. Congress can decline to adopt
a proposal for any number of reasons, including “that the existing legislation already incorporated
the offered change.” Cent. Bank of Denver, 511 U.S. at 187 (citation omitted). In that vein, a
floor statement by the then-Senate Majority Leader indicates that the exemption may have been
rejected because Congress thought that the Agencies would enact an exemption if necessary. See
supra III.A. Finally, Plaintiff questions the validity of the Agencies’ desire to resolve litigation,
because the new Rules are now the subject of litigation. Pl. MSJ at 40. Resolution of litigation
was not the only reason for the Rules – they also alleviate substantial burdens on religion and
conscience. That the Rules have spawned several new cases does not demonstrate that the
Agencies’ desire to resolve the more than fifty cases that then existed was not genuine.

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                                CERTIFICATE OF SERVICE

       I certify that on December 8, 2017, I caused a copy of the foregoing to be filed

electronically and that the document is available for viewing and downloading from the ECF

system. Participants in the case who are registered CM/ECF users will be served by the CM/ECF

system. If any counsel of record requires a paper copy, I will cause a paper copy to be served upon

them by U.S. mail.

                                                            /s/ Daniel Riess
                                                            Daniel Riess




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